                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

DOUGLAS BROWN,                         )
                                       )
                   Plaintiff,          )
                                       )
      v.                               )     No. 19-CV-__________
                                       )
CITY OF CHICAGO, DETECTIVE             )
PALOMINO (Star No. 18473),             )
and DETECTIVE RAINEY                   )
(Star No. 17689),                      )
                                       )
                   Defendants.         )

                                  COMPLAINT

      Plaintiff Douglas Brown complains against Defendants City of Chicago,

Detective Palomino (Star No. 18473), and Detective Rainey (Star No. 17689) as

follows:

                                      Summary

      1.    In the evening on March 24, 2012, Randy Streeter was walking east on

West 63rd Street, on the south side of Chicago, when he was hit by a gunshot.

      2.    In the evening on March 24, 2012, Douglas Brown was at home, at

66th and Laflin Streets in Chicago.

      3.    More than a year after the shooting, Detectives Palomino and Rainey

focused on Douglas Brown (who the detectives asserted had ties to a gang), and

coerced witnesses to identify Brown as having been involved in the shooting.

      4.    Brown was arrested in June 2014 and charged with multiple counts of

murder, attempted murder, and aggravated discharge of a weapon based on the
information provided by and on the recommendation of Detectives Palomino and

Rainey.

       5.     Brown was held in the Cook County jail from June 2014 until after he

was tried and acquitted on November 30, 2018 by a jury.

                              Jurisdiction and Venue

       6.     The Court possesses subject matter jurisdiction over the federal civil

rights claims pursuant to 28 U.S.C. §§ 1331 and 1343(a), and supplemental

jurisdiction over the state law claims, pursuant to 28 U.S.C. § 1367(a).

       7.     Venue is proper in the Northern District of Illinois, Eastern Division,

under 28 U.S.C. § 1391 because the acts and events giving rise to the complaint

occurred in the Northern District of Illinois, Eastern Division and because, upon

information and belief, the Defendants reside here.

                                       Parties

       8.     Plaintiff Douglas Brown is a citizen of the United States and, at all

relevant times, was a resident of the City of Chicago, Illinois.

       9.     Defendant City of Chicago is and was, at all times mentioned herein,

an Illinois municipal corporation organized and existing as such under the laws of

the State of Illinois.

       10.    Defendant City of Chicago is liable under the doctrine of respondeat

superior for all torts committed by its employees and/or agents, including the named

individual defendants who, at all times mentioned herein, were employees of the

City of Chicago and acting within the scope of their employment.




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      11.    Defendant Palomino is and was, at all times herein mentioned, a

citizen of the United States residing within the jurisdiction of this Court.

      12.    At all times herein mentioned, Detective Palomino was acting under

color of state law and within the scope of his employment for the City of Chicago.

He is being sued in his individual capacity.

      13.    Defendant Rainey is and was, at all times herein mentioned, a citizen

of the United States residing within the jurisdiction of this Court.

      14.    At all times herein mentioned, Detective Rainey was acting under color

of state law and within the scope of his employment for the City of Chicago. He is

being sued in his individual capacity.

                                         Facts

      15.    In the evening on March 24, 2012, at approximately 9:30 p.m., Randy

Streeter and a friend were walking east on West 63rd Street in Chicago.

      16.    Streeter passed South Damen Avenue and was proceeding toward

Honore Street when a half-dozen gunshots were fired.

      17.    One of the gunshots struck Streeter, and he was taken to the hospital

where he died as a result of his injuries.

      18.    Chicago Police believed the shooting was related to gangs.

      19.    Detectives Palomino and Rainey were assigned to investigate.

      20.    The investigation by Detectives Palomino and Rainey proceeded

without success.




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      21.    The Chicago Police, upon information and belief, did not recover

physical evidence from the crime scene.

      22.    The Chicago Police never recovered the gun(s) that fired the shots at

Streeter.

      23.    And, the initial canvas of the area by Chicago Police, upon information

and belief, did not yield eyewitnesses who saw who fired the shots or video of the

shooting.

      24.    The friend that accompanied Street, upon information and belief, did

not see who fired the shots.

      25.    Detectives Palomino and Rainey believed the shooting involved rival

gang members, but the investigation, however, did not yield any evidence pointing

to anyone specific.

      26.    Wanting to close the case, create the appearance that the shooting had

been solved, and increase both the Chicago Police Department's and their personal

"clearance rates," Detectives Palomino and Rainey resorted to methods they knew

yielded wrongful arrests and convictions in the past, including relying on jailhouse

informants desperate to avoid charges to "pin" the crime on someone the police

believe is gang-affiliated and should be in jail.

      27.    Approximately a year after the shooting, a jailhouse informant,

arrested with a gun and drugs, offered to say anything the Chicago Police wanted to

avoid being charged, and Detectives Palomino and Rainey used the informant to

generate a "break" in the March 24, 2012 shooting investigation.




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      28.    The informant, who Detectives Palomino and Rainey knew was

unreliable and would say anything to avoid the gun and drug charges, was never

charged (despite being arrested with a gun and drugs).

      29.    The Chicago Police Department released the informant without

charges, and then arrested him two or three times more, each time pushing him to

give them someone to arrest.

      30.    Eventually, the detectives were able to coerce the informant to falsely

claim that four people were involved in the shooting, Douglas Brown, DeShawn

McKinney, Devante Young, and Timothy Harvey.

      31.    The informant was not only untrustworthy, as Detectives Palomino

and Rainey knew, but there was no way to corroborate the new information that the

informant was conveniently providing years after the shooting.

      32.    Detectives Palomino and Rainey knew that the dubious information

provided by the informant was insufficient to support probable cause, so they set

out to create more "evidence."

      33.    Detectives Palomino and Rainey questioned Timothy Harvey, who was

young and who the detectives learned had a low IQ and could be manipulated.

      34.    Timothy Harvey denied any involvement in the March 24, 2012

shooting and, initially, stated he lacked any information about the shooting.

      35.    Detectives Palomino and Rainey decided to arrest Timothy Harvey,

remove him from the presence of his guardians and use threats and interrogation

techniques to pressure Harvey into making a false identification.




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      36.    After being coerced by Detectives Palomino and Rainey and told what

to say, Harvey claimed that DeShawn McKinney fired the shots that hit Streeter,

after Douglas Brown retrieved the gun and handed it to him.

      37.    Despite being a suspect and purportedly being involved in the

shooting, according to the informant, Harvey was never charged.

      38.    Detectives Palomino and Rainey then sought to interview Douglas

Brown on several occasions, and attempted to use interrogation techniques to coerce

Brown into agreeing with the narrative that they created about the shooting.

      39.    Douglas Brown, however, was at home, with his mom and sister, a

mile away from 63rd and Damen, at 66th and Laflin Streets in Chicago on

March 24, 2012, and was not involved in the shooting.

      40.    Detectives Palomino and Rainey had Brown transferred to the Cook

County Jail, without a legal basis, and then took Brown to the station at 111th

Street in Chicago.

      41.    Detectives Palomino and Rainey took Brown from a cold interview

room back and forth to a holding cell numerous times, while they were also holding

DeShawn McKinney in the same group of holding cells.

      42.    After Detectives Palomino and Rainey were unable to pressure Brown

into falsely confessing to something he did not do, Detectives Palomino and Rainey

arrested and charged Brown with the shooting of Randy Streeter.

      43.    At the time they arrested Douglas Brown, Detectives Palomino and

Rainey had no physical evidence connecting Brown to the shooting.




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      44.    Detectives Palomino and Rainey were or should have been aware that

at the time Brown was over a mile away from where the shooting occurred.

      45.    Detectives Palomino and Rainey deliberately did not obtain

independent evidence to confirm the narrative that they created about Brown's

involvement in the shooting because they believed was gang-affiliated and was

guilty of something.

      46.    Instead, Detectives Palomino and Rainey pressured and manipulated

Timothy Harvey to implicate Brown.

      47.    Detectives Palomino and Rainey, however, knew that the informant

and Harvey had concocted conflicting stories under pressure from the detectives,

and that the inconsistencies demonstrated that the statements were contrived.

      48.    Detectives Palomino and Rainey urged the Cook County State's

Attorney to initiate criminal proceedings against Brown based on the false

information they supplied.

      49.    Detectives Palomino and Rainey concealed the lack of reliability,

verification, and inconsistencies in the information that they created, along with the

exculpatory evidence.

      50.    Detectives Palomino and Rainey supplied misinformation to initiate

the criminal proceedings against Brown on June 13, 2014 in the case captioned

People of the State of Illinois v. Douglas Brown, 14 CR 12082701 for ten counts of

murder, attempted murder, and aggravated discharge of a firearm.




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      51.    Brown was and is actually innocent of all of these charges because on

March 24, 2012, he was not in possession of a firearm, did not discharge the

firearm, and did not shoot Streeter.

      52.    The Defendants knew that Brown was innocent of the charges during

the course of their investigation, when they initiated the criminal proceeding

against him, and during the entirety of that criminal proceeding.

      53.    The criminal proceedings were initiated based on fabricated reports

and misinformation supplied by the Defendants during the course of their

investigation.

      54.    Eight of the ten charges were dismissed against Brown, and a jury

found Brown not guilty of the remaining charges on November 30, 2018.

      55.    Brown was released from the custody of the Cook County Jail on or

about December 1, 2018.

      56.    By the time of his release from custody, Douglas Brown had been

unlawfully detained for approximately four years.

                                       Count I

                 42 U.S.C. § 1983 – Illegal Pretrial Detention (Manuel )
                              (Against Palomino and Rainey)

      57.    Each of the foregoing paragraphs are incorporated herein.

      58.    In the manner described above, Defendants seized and unlawfully

detained Plaintiff without probable cause or any lawful justification, in violation of

the Fourth Amendment to the U.S. Constitution.




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       59.    The misconduct described herein was objectively unreasonable and

was undertaken intentionally with malice, willfulness, and reckless indifference to

Plaintiff's constitutional rights.

       60.    Plaintiff's detention of approximately four years was due to the

Defendants' fabricated evidence in their police reports, criminal complaints and/or

testimony rendered during the underlying criminal proceeding in the matter

captioned People of the State of Illinois v. Douglas Brown, 14 CR 12082701.

       61.    As a result of this misconduct, Plaintiff was injured, including a loss of

liberty, physical and emotional damages, legal fees, trauma, mental distress and

emotional damages.

       WHEREFORE, Plaintiff Douglas Brown demands judgment against

Defendants Palomino and Rainey for compensatory damages, punitive damages,

costs, reasonable attorneys' fees, and such other and additional relief deemed

equitable and just under the circumstances.

                                       Count II

    42 U.S.C. §1983 – Violation of Due Process (Fourteenth Amendment)
                         (Against Palomino and Rainey)

       62.    Each of the foregoing paragraphs are incorporated herein.

       63.    The Defendants, acting individually, jointly, and/or in conspiracy,

deprived Plaintiff of his constitutional right to due process and fair trial.

       64.    In the manner described more fully above, the Defendants fabricated

false inculpatory statements Plaintiff and from others, deliberately withheld and

suppressed exculpatory evidence from the prosecutors and defense counsel, and



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fabricated false reports and other evidence, thereby causing the wrongful

prosecution of Plaintiff.

       65.    Absent this misconduct, the criminal prosecution could not and would

not have been pursued.

       66.    The Defendants misconduct directly resulted in the unjust criminal

prosecution and continuing wrongful incarceration of Plaintiff while he awaited

trial in the Circuit Court of Cook County, thereby denying him his constitutional

right to a fair trial, in violation of the Due Process Clause of the Fourteenth

Amendment to the United States Constitution.

       67.    As a result of this violation of his constitutional right to a fair trial,

Plaintiff suffered injuries, including but not limited to the loss of his liberty,

physical harm, severe emotional distress and anguish.

       68.    The misconduct described in this count was objectively unreasonable

and undertaken intentionally, with malice and willful indifference to Plaintiff’s

clearly established constitutional rights.

       WHEREFORE, Plaintiff Douglas Brown demands judgment against

Defendants Palomino and Rainey for compensatory damages, punitive damages,

costs, reasonable attorneys' fees, and such other and additional relief deemed

equitable and just under the circumstances.

                                        Count III

      42 U.S.C. § 1983 – Conspiracy to Deprive of Constitutional Rights
                            (Against Palomino and Rainey)

       69.    Each of the foregoing paragraphs are incorporated herein.



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       70.    The Defendants, acting in concert with the informant, reached an

agreement among themselves to deprive Plaintiff of his constitutional rights.

       71.    In so doing, these co-conspirators conspired to accomplish an unlawful

purpose (the unlawful pre-trial detention of Plaintiff in violation of the Fourth

Amendment) by unlawful means (including, falsification of police reports, criminal

complaint and giving fabricated testimony during criminal proceedings).

       72.    In furtherance of their conspiracy, each of these co-conspirators

committed overt acts and were otherwise willful participants in joint activity.

       73.    The misconduct described herein was objectively unreasonable and

was undertaken intentionally with malice, willfulness, and reckless indifference to

Plaintiff's constitutional rights.

       74.    As a result of Defendants' misconduct described herein, Plaintiff was

injured, including a loss of liberty due to his unlawful pre-trial detention, physical

and emotional damages, legal fees, trauma, mental distress and emotional

damages.

       WHEREFORE, Plaintiff Douglas Brown demands judgment against

Defendants Palomino and Rainey for compensatory damages, punitive damages,

costs, reasonable attorneys' fees, and such other and additional relief deemed

equitable and just under the circumstances.

                                      Count IV

                    State Law Claim – Malicious Prosecution
                             (Against Palomino and Rainey)

       75.    Each of the foregoing paragraphs are incorporated herein.



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      76.       Detectives Palomino and Rainey knew and informed the other that the

information supplied by the informant was untrue, unreliable, and contrived.

      77.       The information gathered by Detectives Palomino and Rainey was

false and the detectives knew it was false because they are pressured and led the

informant to identify Plaintiff as being involved.

      78.       Detectives Palomino and Rainey then pressured another person to

implicate Plaintiff.

      79.       The information obtained by Detectives Palomino and Rainey did not

provide probable cause to arrest and prosecute Plaintiff because the information

was created by the Defendants using duress.

      80.       The Defendants met at different times and locations and had

discussions about how to recommend and pressure prosecutors to arrest and

prosecute Plaintiff.

      81.       Defendants knew that prosecutors would rely on their investigation

and the information they reported to prosecutors in moving forward with a

prosecution and indictment.

      82.       Defendants provided misinformation about Plaintiff to encourage the

prosecution of Plaintiff, and they concealed exculpatory evidence that Plaintiff was

not involved.

      83.       Despite knowing the true facts, the Defendants recommended to the

Cook County State's Attorney that Plaintiff be criminally prosecuted.




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      84.    Defendants did not disclose or note the inconsistencies in the

informant and Harvey's stories, or the objective falsities that existed with the

narratives they were told to concoct.

      85.    As a result of Defendants' efforts to obtain criminal charges, Plaintiff

was charged with multiple counts of murder, attempted murder, and aggravated

discharge of a weapon.

      86.    The charges and any indictment of Plaintiff was based on the

recommendation, information, and false evidence obtained Defendants, and resulted

from the exculpatory evidence that the Defendants withheld.

      87.    Defendants provided or knowingly participated in the provision of false

information to the Cook County State's Attorney to cause a wrongful prosecution of

Plaintiff or concealed exculpatory evidence.

      88.    The Defendants caused a criminal prosecution to commence and/or

continue against Plaintiff resulting in a trial in the Circuit Court of Cook County.

      89.    The Defendants, initiated, facilitated and/or continued this malicious

prosecution by the creation of manufactured and fabricated evidence, including

writing false police reports, preparing and signing false criminal complaints,

conducting unduly prejudicial, misleading, suggestive and/or coercive physical

interrogations, and/or otherwise wrongfully misrepresenting and/or withholding

evidence.

      90.    The Defendants maliciously commenced and/or continued a criminal

prosecution against Plaintiff without probable cause for the commencement and/or




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obtained the continuation of those proceedings before the Cook County Circuit

Court.

         91.   As a result, Plaintiff was injured, including a loss of liberty, physical

and emotional damages, legal fees, trauma, mental distress and emotional

damages.

         92.   The criminal proceedings were terminated in Plaintiff's favor on

November 30, 2018 when the jury found Plaintiff not guilty in a manner indicative

of his actual innocence of the crimes charged.

         WHEREFORE, Plaintiff Douglas Brown demands judgment against

Defendants Palomino and Rainey for compensatory damages, punitive damages,

costs, reasonable attorneys' fees, and such other and additional relief deemed

equitable and just under the circumstances.

                                          Count V

                        State Law Claim – Civil Conspiracy
                            (Against Palomino and Rainey)

         93.   Each of the foregoing paragraphs are incorporated herein.

         94.   As described more fully in the preceding paragraphs, the Defendants

reached an agreement among themselves and with others, including with the

informant, to violate the law and deprive Plaintiff of his rights.

         95.   Each of the Defendants, acting in concert with other co-conspirators,

including the informant, reached an agreement among themselves to deprive

Plaintiff of his constitutional rights.




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       96.    In so doing, these co-conspirators conspired to accomplish an unlawful

purpose (the false conviction of Plaintiff) by unlawful means (including, falsification

of police reports, criminal complaint and giving fabricated testimony during

criminal proceedings).

       97.    In furtherance of their conspiracy, each of these co-conspirators

committed overt acts and were otherwise willful participants in joint activity.

       98.    The misconduct described herein was objectively unreasonable and

was undertaken intentionally with malice, willfulness, and reckless indifference to

Plaintiff's constitutional rights.

       WHEREFORE, Plaintiff Douglas Brown demands judgment against

Defendants Palomino and Rainey for compensatory damages, punitive damages,

costs, reasonable attorneys' fees, and such other and additional relief deemed

equitable and just under the circumstances.

                                      Count VI

                  State Law Claim – Willful & Wanton Conduct
                          (Against Palomino and Rainey)

       99.    Each of the foregoing paragraphs are incorporated herein.

       100.   In the manner described more fully above, the actions of Defendants

breached the duty of care owed to Plaintiff.

       101.   The actions of the Defendants were willful and wanton in that they

demonstrated an utter indifference for the safety and well-being other others.




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       102.   In addition, and/or alternatively, the Defendants were conscious that

an injury could result from the above-described course of action and recklessly

disregarded the consequences of those actions.

       103.   The misconduct described herein was undertaken with intentional

disregard for Plaintiff's rights.

       104.   As a result of the Defendants' misconduct described herein, Plaintiff

experienced and continues to experience pain, suffering and distress

       WHEREFORE, Plaintiff Douglas Brown demands judgment against

Defendants Palomino and Rainey for compensatory damages, punitive damages,

costs, reasonable attorneys' fees, and such other and additional relief deemed

equitable and just under the circumstances.

                                      Count VII

                     State Law Claim – Respo ndeat Superio r
                             (Against City of Chicago)

       105.   Each of the foregoing paragraphs are incorporated herein.

       106.   In committing the acts alleged in this Complaint, the Detectives

Palomino and Rainey were employees, members, and agents of the Chicago Police

Department acting at all relevant times within the scope of their employment.

       107.   Defendant City of Chicago is liable as principal for all torts committed

by its agents.

       108.   In the event that a jury finds that either Detective Palomino or

Detective Rainey or any unknown and/or unnamed employee or agent of the

Defendant City of Chicago committed any unlawful acts upon which Plaintiff's



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Complaint is premised under state law, then Defendant City of Chicago is liable for

the acts of that employee or agent.

      WHEREFORE, Plaintiff Douglas Brown demands that the City of Chicago

be held liable for any acts of its employees resulting in compensatory damages,

costs, and such other and additional relief deemed equitable and just under the

circumstances.

                                      Count VIII

                       State Law Claim – Indemnification
                             (Against City of Chicago)

      109.   Each of the foregoing paragraphs are incorporated herein.

      110.   Illinois law provides that public entities are directed to pay any tort

judgment for compensatory damages for which employees are liable within the

scope of their employment activities. 745 ILCS 10/9-102.

      111.   Detectives Palomino and Rainey are, or were, employees of the Chicago

Police Department who acted within the scope of their employment in committing

the misconduct described above.

      112.   Defendant City of Chicago is obligated to pay any judgment for

compensatory damages entered against Detectives Palomino and Rainey, or any

other agent or employee liable for the misconduct described herein.

      WHEREFORE, in the event that a judgment for compensatory damages is

entered against Detectives Palomino and Rainey or any other agent or employee,

Plaintiff prays that a judgment be entered against Defendant City of Chicago




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requiring payment of any such judgment and the associated attorneys' fees and

costs.

                                   JURY DEMAND
         Plaintiff Douglas Brown hereby demands a trial by jury, pursuant to Federal

Rule of Civil Procedure 38, on all issues so triable.

                                                  PLAINTIFF DOUGLAS BROWN,

                                                  By: /s/Christopher Carmichael
                                                         One of his Attorneys

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